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 7

 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10                                              Case No.: 2:21-CV-03147
     DBEST PRODUCTS, INC., a California
11   corporation,
                                                COMPLAINT FOR PATENT
12                                              INFRINGEMENT
                 Plaintiff,
13
           vs.                                  DEMAND FOR JURY TRIAL
14
     AMAZON.COM, INC., a Delaware
15   corporation, and DOES 1 through 10,
16   inclusive,

17               Defendant.

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 1         Plaintiff DBEST PRODUCTS, INC., by its undersigned attorneys, hereby sets

 2   forth its Complaint against Defendant AMAZON.COM, INC. and alleges as follows:

 3                                     THE PARTIES

 4            1. Plaintiff DBEST PRODUCTS, INC., (“DPI”) is a California corporation

 5   with a principal place of business at 7825 Somerset Blvd., Suite D, Paramount, CA

 6   90723.

 7            2. Upon information and belief, Amazon.com, Inc. (“Amazon”) is a

 8   Delaware corporation with its principal place of business in Seattle, Washington.

 9   Amazon has a regular and established place of business in this judicial district,

10   including but not limited to the distribution center at 6400 Valley View St, Buena

11   Park, CA 90620; the Amazon Hub Locker at 239 N Crescent Dr, Beverly Hills, CA

12   90210; and the Amazon Locker at 1451 S La Cienega Blvd, Los Angeles, CA 90035.

13            3. Upon information and belief, Amazon offers and sells products,

14   including those accused herein of infringement, to customers and/or potential

15   customers located in California and elsewhere in the United States.

16                               JURISDICTION AND VENUE

17            4. DPI brings this action for patent infringement against Amazon under the

18   patent laws of the United States, 35 U.S.C. § 271 et seq., and under the Lanham Act,

19   15 U.S.C. § 1051, et seq.

20            5. This Court has subject matter jurisdiction over the claims in this

21   Complaint that relate to patent infringement pursuant to 28 U.S.C. §§ 1331, 1338(a)

22   and 1367.

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 1             6. Additionally, this Court has diversity jurisdiction pursuant to 28 U.S.C.

 2   § 1332, as the parties are, respectively, citizens of a foreign state and this state, and

 3   the amount in controversy exceeds $75,000.

 4             7. This Court has personal jurisdiction over Amazon because, upon

 5   information and belief, Amazon does and has done substantial business in this judicial

 6   District, including: (i) committing acts of patent infringement and/or contributing to

 7   or inducing acts of patent infringement by others in this judicial District and elsewhere

 8   in this State; (ii) regularly conducting business in this State and judicial District; (iii)

 9   directing advertising to or soliciting business from persons residing in this State and

10   judicial District; and (iv) engaging in other persistent courses of conduct, and/or

11   deriving substantial revenue from products and/or services provided to persons in this

12   District and State.

13             8. Venue is proper in this Court pursuant to 28 U.S.C. § 1400(b). Amazon

14   has committed acts of patent infringement in this District and has a regular and

15   established place of business in this District.

16                                FACTUAL BACKGROUND

17             9. DPI is a leading innovator and seller of portable carts in the United States.

18   DPI has developed, marketed and sold exclusively a highly successful product line of

19   premium portable carts that are frequently featured on QVC, Inc.’s television

20   infomercials and website.

21             10. DPI is the owner of a worldwide portfolio of intellectual properties,

22   including utility patents, design patents and trademarks.

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 1             11. DPI is the owner of all rights, title, and interest in and to U.S. Patent No.

 2   9,233,700 (“the ‘700 Patent”), which was issued on January 12, 2016, and entitled

 3   “PORTABLE CART WITH REMOVABLE SHOPPING BAG”. The ‘700 Patent is

 4   in full force and effect and has not expired or lapsed. A true and correct copy of the

 5   ‘700 Patent is attached as Exhibit 1 hereto.

 6             12. Amazon sells products on amazon.com, and has been advised of the

 7   existence of the ‘700 Patent, and of its infringement of at least claim 9 thereof by

 8   products sold at amazon.com.

 9             13. As early as March 2, 2021, DPI notified Amazon of the infringing

10   products. Amazon merely sent an automated email with as assigned Case No.

11   8067208811, but dismissed the notice as incomplete. A copy of the email from

12   Amazon, dated March 4, 2021, is attached as Exhibit 2.

13             14. On March 4, 2021, DPI’s counsel replied to Amazon’s email and

14   enclosed a cease and desist letter containing detailed infringement charts on the

15   Accused Products. A copy of the email enclosing the cease and desist letter is attached

16   as Exhibit 3. Amazon never responded back to DPI’s counsel’s cease and desist

17   letter.

18             15. Subsequently, on March 17, 2021, having received no response, DPI

19   resent the cease and desist letter to Amazon’s Legal Department at

20   legal@amazon.com. A copy of the email enclosing the March 4, 2021 cease and desist

21   letter is attached as Exhibit 4. Amazon merely responded with an assigned complaint

22   ID No. 8119677651 and indicated that they notified the sellers, but neither the sellers

23   nor Defendant has taken any action to remove the infringing products from the

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 1   amazon.com website. A copy of the email from Amazon, dated March 17, 2021, is

 2   attached as Exhibit 5.

 3            16. The infringing products (“Accused Products”) sold, offered for sale and

 4   advertised on amazon.com that infringe at least claim 9 of the ‘700 Patent, and which

 5   Amazon has been notified of, include at least the following:

 6                   a. Shopping Cart, Super Loading Stair Climber Cart 220 lbs

 7                      Capacity Grocery Foldable Cart with Extra Large Shopping Bag

 8                      Laundry Cart with Adjustable Bungee Cord;

 9                      ASIN #: B07B4XSW9L. See

10                      https://www.amazon.com/Shopping%02%20Loading-Capacity-

11                      Foldable-Adjustable/dp/B07T63S2WP?ref_=ast_sto_dp

12                   b. Shopping Cart, Super Loading Grocery Cart 220 lbs Capacity

13                      Grocery Shopping Foldable Cart with Extra Large Black

14                      Shopping Bag Portable Grocery Cart with Bungee Cord;

15                      ASIN #: B08CX9VXPT. See

16                      https://www.amazon.com/ShoppingCapacityFoldablePortable%0

17                      2%20Adjustable/dp/B08CX9VXPT?ref_=ast_sto_dp

18                   c. Shopping Cart, Heavy Duty Stair Cart 220 lbs Capacity Grocery

19                      Cart with Grey Large Shopping Bag Folding Shopping Cart with

20                      Adjustable Bungee Cord; ASIN #: B07B4XSW9L. See

21                            1.     https://www.amazon.com/UpgradedShoppingClimbi

22                      ng%20%20%20Tri-Wheels-

23                      Bearings/dp/B07B4XSW9L?ref_=ast_sto_dp

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 1             17. Upon information and belief, the Accused Products are promoted in the

 2   same marketing channels as DPI’s products. Specifically, the Accused Products are

 3   offered for sale directly from the Amazon.com website, from which a customer may

 4   purchase products that Amazon ships to the customer anywhere in the United States.

 5   The Accused Products are displayed on the product-detail page generated by Amazon,

 6   which includes information about the price, description of the goods, and quantity,

 7   and can be purchased through Amazon.com upon a single click by the potential

 8   purchaser.

 9                             FIRST CLAIM FOR RELIEF

10           (Direct Infringement of the ‘700 patent – 35 U.S.C. §§ 271 et seq.)

11             18. The foregoing paragraphs are incorporated by reference as if fully set

12   forth herein.

13             19. Amazon has been and is directly infringing the ’700 Patent by making,

14   using, offering for sale, selling, and/or otherwise distributing the Accused Products,

15   that infringe at least claim 9 of the ’700 Patent in violation of 35 U.S.C. § 271. For

16   example, the Accused Products meet each element of at least claim 9, literally and/or

17   under the doctrine of equivalents, as shown in the infringement charts disclosed in the

18   exhibits to the March 4, 2021 cease and desist letter. See also Exhibits 6-8.

19             20. Amazon has not terminated the infringement in response to DPI’s

20   notifications regarding the existence of the ‘700 Patent, and that the Accused Products

21   infringe at least claim 9 thereof. Rather, Amazon has continued to sell the directly

22   infringing products on amazon.com after notification of the ‘700 Patent and its

23   infringement thereof.

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 1             21. Amazon’s infringement has been deliberate, willful, intentional, as

 2   Amazon engaged in these wrongful acts with full knowledge of the existence of the

 3   ’700 Patent and with full knowledge that its activities were an infringement of the

 4   ’700 Patent.

 5             22. In particular, as noted above, DPI provided actual notice of the

 6   infringement to Amazon at least as early as March 4, 2021.

 7             23. Amazon’s infringement has injured or will injure DPI, and DPI is

 8   entitled to recover damages adequate to compensate it for Amazon’s infringement.

 9             24. Because Amazon’s infringement has caused or will cause DPI

10   substantial damage and irreparable injury by its infringement of the ’700 Patent, DPI

11   will continue to suffer damage and irreparable injury unless and until Amazon is

12   enjoined by this Court from continuing its infringement.

13             25. DPI is entitled to injunctive relief and compensatory relief, including

14   attorneys’ fees and costs, as well as enhanced damages pursuant to 35 U.S.C. §§ 271,

15   281, and 283 to 285.

16                            SECOND CLAIM FOR RELIEF

17          (Induced infringement of the ‘700 Patent – 35 U.S.C. §§ 271 et seq.)

18             26. The foregoing paragraphs are incorporated by reference as if fully set

19   forth herein.

20             27. Despite being put on notice, Amazon continued to sell the directly

21   infringing products on amazon.com. In view of its continued actions, Amazon has

22   been and is actively inducing others to infringe at least claim 9 of the ’700 Patent, by

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 1   among other things, directly or through intermediaries, using, offering for sale, selling,

 2   and/or otherwise distributing the Accused Products in violation of 35 U.S.C. § 271(b).

 3             28. As shown above, Amazon’s sellers have engaged in and currently engage

 4   in activities that constitute direct infringement of the ’700 Patent. Amazon’s

 5   affirmative acts of

 6                    a. selling and/or offering for sale the Accused Products through its

 7                         website;

 8                    b. advertising the benefits of its marketplace to sellers and potential

 9                         sellers;

10                    c. providing sellers with the platform to reach customers and the

11                         online tools to offer the Accused Products for sale, i.e., advertising

12                         and promoting the Accused Products;

13                    d. interacting with purchasers of the Accused Products so as to enable

14                         sellers to complete transactions with Amazon as an intermediary,

15                         and without communicating directly with the purchasers; and

16                    e. benefitting financially from the sales of the Accused Products

17                         through Amazon.com,

18   have induced and continue to induce Amazon’s sellers to sell the Accused Products in

19   their normal and customary form to infringe the ’700 Patent.

20             29. Through its advertising, selling, and/or offering for sale the Accused

21   Products, Amazon specifically intends that its sellers directly infringe the ’700 Patent.

22   Despite having been notified of infringement, Amazon has continued to wantonly,

23   willfully, and without justification, infringe at least claim 9 of the ‘700 Patent and will

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 1   not terminate its infringement by removing the Accused Products that it induces

 2   infringement of from amazon.com unless ordered by this Court.

 3            30. Amazon has performed and continues to perform acts that constitute

 4   indirect infringement, and would induce actual infringement, with the knowledge of

 5   the ’700 Patent and with the knowledge or willful blindness to the fact that the induced

 6   acts constitute infringement.

 7            31. Amazon’s infringement has been deliberate, willful, intentional, as

 8   Amazon engaged in these wrongful acts with full knowledge of the existence of the

 9   ’700 Patent and with full knowledge that its activities were an infringement of the

10   ’700 Patent.

11            32. Defendant Amazon’s induced infringement has injured or will injure

12   DPI, and DPI is entitled to recover damages adequate to compensate it for the

13   infringement.

14            33. Because Defendant Amazon’s induced infringement has caused or will

15   cause DPI substantial damage and irreparable injury by its infringement of the ’700

16   Patent, DPI will continue to suffer damage and irreparable injury unless and until

17   Amazon is enjoined by this Court from continuing its induced infringement.

18            34. DPI is entitled to injunctive relief and compensatory relief, including

19   attorneys’ fees and costs, as well as enhanced damages pursuant to 35 U.S.C. §§ 271,

20   281, and 283 to 285.

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 1                                  PRAYER FOR RELIEF

 2          WHEREFORE, Plaintiff asks this Court to enter judgment in its favor and

 3    against Amazon and grant the following relief:

 4              A. A determination that Amazon has infringed at least claim 9 of the ‘700

 5    Patent under 35 U.S.C. §§ 271, et seq.;

 6              B. An injunction permanently enjoining Amazon, and its officers, agents,

 7    employees, and all others in active concert or participation with Amazon or any of

 8    them, from further infringement of the ’700 Patent;

 9              C. Damages in an amount adequate to compensate DPI for Amazon’s patent

10    infringement pursuant to 35 U.S.C. § 284;

11              D. A determination that Amazon’s patent infringement has been willful, and

12    an award of treble damages pursuant to 35 U.S.C. § 284;

13              E. A determination that this case is exceptional and an award to DPI of its

14    reasonable attorney’s fees pursuant to 35 U.S.C. § 285;

15              F. Enter a judgment and order requiring Amazon to recall from any

16    distributors and retailers and to deliver to DPI for destruction or other disposition all

17    remaining inventory of all Accused Products and related items, including all

18    advertisements, promotional and marketing materials therefore, as well as means of

19    making same;

20              G. Enter a judgment and order requiring Amazon to file with this Court and

21    serve on DPI within thirty (30) days after entry of the injunction, a report in writing,

22    under oath setting forth in detail the manner and form in which Amazon have

23    complied with the injunction;

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 1             H. Any further relief that this Court deems just and proper.

 2     DATED: April 12, 2021                   HACKLER DAGHIGHIAN MARTINO &
 3                                             NOVAK, P.C.

 4                                             By: /s/ Ehab M. Samuel
                                               Ehab M. Samuel (CA SBN 228296)
 5                                             David A. Randall (CA SBN 156722)
 6                                             Attorneys for Plaintiff
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